 Fill in this information to identify the case:

                     KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name         Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11104
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 16, 2018                            X /s/ Wilmer Dean Koop
                                                                       Signature of individual signing on behalf of debtor

                                                                       Wilmer Dean Koop
                                                                       Printed name

                                                                       Managing General Partner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

                        KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name            Kachina Lodge Properties

 United States Bankruptcy Court for the:                       DISTRICT OF NEW MEXICO

 Case number (if known)               18-11104
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        4,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           120,033.26

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,120,033.26


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,400,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           111,797.80

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            62,924.62


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,574,722.42




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

                     KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name         Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11104
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $150.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     New Bank Mexico Trust                                   Checking                        5418                                       $100.00




           3.2.     Centinal Bank                                           Checking                                                                $23,909.87



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $24,159.87
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         KOBA Limited Partnership, a New Mexico Limited                                          Case number (If known) 18-11104
                Partnership d/b/a Kachina Lodge Properties
                Name


        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 11,854.18    -                                    0.00 = ....                  $11,854.18
                                              face amount                                 doubtful or uncollectible accounts




           11b. Over 90 days old:                                     3,869.21    -                                   0.00 =....                      $3,869.21
                                              face amount                                 doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                     $15,723.39
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used    Current value of
                                                      physical inventory              debtor's interest          for current value        debtor's interest
                                                                                      (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Jewelry and arts and
           crafts                                                                                Unknown                                              Unknown


           Cleaning products and
           room supplies                                                                              $0.00                                           $4,150.00




 23.       Total of Part 5.                                                                                                                       $4,150.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 2
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 Debtor         KOBA Limited Partnership, a New Mexico Limited                                Case number (If known) 18-11104
                Partnership d/b/a Kachina Lodge Properties
                Name


               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Bronze Statues:Large horse, small
                     statues and kachina                                                    $0.00                                         $55,000.00




 43.       Total of Part 7.                                                                                                              $55,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2004 Honda Odessy Shuttle Van                                          $0.00                                           $3,500.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         KOBA Limited Partnership, a New Mexico Limited                                Case number (If known) 18-11104
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                Name

           47.2.     1993 Subaru Forester                                                   $0.00                                            $2,000.00


           47.3.     1988 Chevy Blazer                                                      $0.00                                            $4,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Utility Trailer                                                                  $0.00                                            $3,000.00


           Snow Plow                                                                        $0.00                                            $2,500.00


           Golf Cart                                                                        $0.00                                            $1,000.00



 51.       Total of Part 8.                                                                                                             $16,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 7.28 Acres in the
                     Taos downtown
                     Historic District                    100%                              $0.00                                       $1,500,000.00


           55.2.     413 Paseo Del Pueblo
                     Norte, Taos, NM
                     87571                                                                  $0.00                                       $2,500,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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                Partnership d/b/a Kachina Lodge Properties
                Name



 56.        Total of Part 9.                                                                                                        $4,000,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.kachinalodge.com                                                            $0.00                                           $5,000.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                            $5,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor          KOBA Limited Partnership, a New Mexico Limited                                                      Case number (If known) 18-11104
                 Partnership d/b/a Kachina Lodge Properties
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $24,159.87

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $15,723.39

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $4,150.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $55,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $16,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $5,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $120,033.26           + 91b.            $4,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,120,033.26




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

                      KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name          Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)              18-11104
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        RSS
 2.1                                                                                                                     $2,400,000.00             $2,500,000.00
        FDIC2012CI-NM-KLP,LLC                         Describe debtor's property that is subject to a lien
        Creditor's Name                               413 Paseo Del Pueblo Norte, Taos, NM 87571
        Rialto Capital Advisors,
        LLC
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2002                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                          $2,400,000.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Debtor name         Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)           18-11104
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $40,000.00          $40,000.00
           New Mexico Department of                                  Check all that apply.
           Taxation & Reve                                              Contingent
           PO Box 2527                                                  Unliquidated
           Santa Fe, NM 87504                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Gross

           Last 4 digits of account number 5000                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $38,500.00          $38,500.00
           Taos County Clerk                                         Check all that apply.
           105 Albright St, Suite G                                     Contingent
           Taos, NM 87571                                               Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017                                                      Property taxes

           Last 4 digits of account number 3397                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 5
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              KOBA Limited Partnership, a New Mexico Limited
 Debtor       Partnership d/b/a Kachina Lodge Properties                                                      Case number (if known)          18-11104
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $33,297.80    $33,297.80
           Town of Taos                                              Check all that apply.
           Treasurer's Department                                       Contingent
           105 Albright Street Suite F                                  Unliquidated
           Taos, NM 87571                                               Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Business Debt

           Last 4 digits of account number 0065                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           Amy N. Brewer                                                               Contingent
           c/o W.T. Martin JR.                                                         Unliquidated
           509 West Pierce Street                                                      Disputed
           Carlsbad, NM 88221
                                                                                   Basis for the claim:     Pending Claim
           Date(s) debt was incurred 2017
           Last 4 digits of account number      n/a                                Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $4,972.23
           Booking. Com                                                                Contingent
           7208 W. Sand Lake Road Suite 202                                            Unliquidated
           Orlando, FL 32819                                                           Disputed
           Date(s) debt was incurred 2018
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number 1495
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Carlsbad Radio INC                                                          Contingent
           PO Box 1538                                                                 Unliquidated
           Carlsbad, NM 88221                                                          Disputed
           Date(s) debt was incurred     2018                                      Basis for the claim:     Business Debt
           Last 4 digits of account number      5001
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,273.60
           Century Link                                                                Contingent
           PO Box 29040                                                                Unliquidated
           Phoenix, AZ 85038-9040                                                      Disputed
           Date(s) debt was incurred 2018
                                                                                   Basis for the claim:     Utility Bill
           Last 4 digits of account number      Multiple lines
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,818.92
           Chardans Mechanical Inc                                                     Contingent
           4320 Ellison N.E.                                                           Unliquidated
           Albuquerque, NM 87109                                                       Disputed
           Date(s) debt was incurred 2018
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number      n/a
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 5
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              KOBA Limited Partnership, a New Mexico Limited
 Debtor       Partnership d/b/a Kachina Lodge Properties                                              Case number (if known)            18-11104
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          Ernesto Montoya                                                       Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      2018                                   Disputed
          Last 4 digits of account number       n/a                          Basis for the claim:    Business Debt
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,738.52
          Expedia                                                               Contingent
          PO Box 847675                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $505.30
          Hawk Mechanical Plumbing                                              Contingent
          1132 Paseo Del Pueblo Sur                                             Unliquidated
          Taos, NM 87571                                                        Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number C627
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          Image Technology Systems                                              Contingent
          1615 Dorchester Dr., Suite 100                                        Unliquidated
          Plano, TX 75075                                                       Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number 2087
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Jack Campbell                                                         Contingent
          c/o Jack Campbell                                                     Unliquidated
          100 Sun AVE NE Suite 410                                              Disputed
          Albuquerque, NM 87109
                                                                             Basis for the claim:    Personal Loan
          Date(s) debt was incurred 2018
          Last 4 digits of account number n/a                                Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.57
          Katzon Brothers, Inc.                                                 Contingent
          960 Vallejo Street                                                    Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       7117
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,116.07
          Kit Carson Electric                                                   Contingent
          118 Cruz Alta Road                                                    Unliquidated
          Taos, NM 87571                                                        Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Utility Bill
          Last 4 digits of account number       4001
                                                                             Is the claim subject to offset?     No       Yes




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              KOBA Limited Partnership, a New Mexico Limited
 Debtor       Partnership d/b/a Kachina Lodge Properties                                              Case number (if known)            18-11104
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,802.23
          LDH Enterprises LLC                                                   Contingent
          6645 Isleta Blvd Sw                                                   Unliquidated
          Albuquerque, NM 87105                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       n/a
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,030.76
          Luminarias Limited, LLC                                               Contingent
          PO Box 21926                                                          Unliquidated
          Albuquerque, NM 87154                                                 Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       5470
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Montgomery & Andrews                                                  Contingent
          c/o Jack Campbell                                                     Unliquidated
          100 Sun AVE NE Suite 410                                              Disputed
          Albuquerque, NM 87109
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred 2017
          Last 4 digits of account number n/a                                Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75.00
          NM Department of Transportation                                       Contingent
          7500 Pan American East Freeway NE                                     Unliquidated
          Albuquerque, NM 87109                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number N/A
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,118.13
          Pitney Bowes                                                          Contingent
          5101 Interchange Way                                                  Unliquidated
          Louisville, KY 40229-2161                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       5984
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $456.00
          The Northern Trust Lineberry                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      2018                                   Disputed
          Last 4 digits of account number       9023                         Basis for the claim:    Business Debt
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.50
          The Taos News                                                         Contingent
          PO Box 3737                                                           Unliquidated
          Taos, NM 87571                                                        Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Business Debt
          Last 4 digits of account number       4153
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Partnership d/b/a Kachina Lodge Properties                                              Case number (if known)            18-11104
              Name

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,258.05
           Tiger Natural Gas                                                    Contingent
           1422 E. 71st Street Suite J                                          Unliquidated
           Tulsa, OK 74136                                                      Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Utility Bill
           Last 4 digits of account number 1060
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,062.00
           Town of Taos                                                         Contingent
           Water and Sewer                                                      Unliquidated
           182 Los Cordovas Drive                                               Disputed
           Taos, NM 87571
                                                                             Basis for the claim:    Utility Bill
           Date(s) debt was incurred 2018
           Last 4 digits of account number      0002                         Is the claim subject to offset?       No     Yes


 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $10,056.74
           Walmart                                                              Contingent
           GE Capital Attn: Bankruptcy Dept                                     Unliquidated
           PO Box 103104                                                        Disputed
           Roswell, GA 30076
                                                                             Basis for the claim:    Business Debt
           Date(s) debt was incurred 2018
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $708.00
           Waste Management                                                     Contingent
           2625 W. Grandview RD                                                 Unliquidated
           Phoenix, AZ 85023                                                    Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Utility Bill
           Last 4 digits of account number      4008
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       111,797.80
 5b. Total claims from Part 2                                                                            5b.   +    $                        62,924.62

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          174,722.42




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 Fill in this information to identify the case:

                     KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name         Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11104
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

                     KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name         Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11104
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

                     KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a
 Debtor name         Kachina Lodge Properties

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11104
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $210,767.57
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,062,106.26
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,251,836.18
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply


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 Debtor       KOBA Limited Partnership, a New Mexico Limited                                            Case number (if known) 18-11104
              Partnership d/b/a Kachina Lodge Properties

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    RSS FDIC2012C1-NM                                 Debt and Money                                                          Pending
               KLP,LLC v. KOBA Limited                           Due                                                                     On appeal
               Partnership d/b/a Kachina
                                                                                                                                         Concluded
               Lodge
               820 CV 2017 00469

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
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               Partnership d/b/a Kachina Lodge Properties



           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    GIDDENS & GATTON LAW,
                P.C.
                10400 Academy N.E. Suite
                350
                Albuquerque, NM 87111                                Attorney Fees                                                                   $3,000.00

                Email or website address
                giddens@giddenslaw.com

                Who made the payment, if not debtor?
                Wilmer Dean Koop



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer        Total amount or
               Address                                           payments received or debts paid in exchange              was made                      value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply




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             Partnership d/b/a Kachina Lodge Properties

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?


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 Debtor      KOBA Limited Partnership, a New Mexico Limited                                             Case number (if known) 18-11104
             Partnership d/b/a Kachina Lodge Properties

 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Chacon Tax and accounting                        Monthly accounting Services                      EIN:
             Services                                         during the last 10 years
             400 Paseo del Pueblo Norte                                                                        From-To
             Taos, NM 87571


26. Books, records, and financial statements
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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 Debtor      KOBA Limited Partnership, a New Mexico Limited                                             Case number (if known) 18-11104
             Partnership d/b/a Kachina Lodge Properties

    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Wilmer Dean Koop                                                                                                      22 years
                    Manager and General Partner
                    PO Box 2480
                    Taos, NM 87571

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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 Debtor      KOBA Limited Partnership, a New Mexico Limited                                             Case number (if known) 18-11104
             Partnership d/b/a Kachina Lodge Properties


    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 16, 2018

 /s/ Wilmer Dean Koop                                                   Wilmer Dean Koop
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing General Partner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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